                                    Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 1 of 24 Page ID #:1



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                                   2
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                                   3    270 N. El Camino Real, Suite 510
                                        Encinitas, California 92024-2874
                                   4    Telephone: (833) 221-2990
                                   5
                                   6    Attorneys for Plaintiff P&T MULTIMEDIA SERVICES, LTD

                                   7
                                                                   UNITED STATES DISTRICT COURT
                                   8
                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                   9
                                   10
                                        P&T MULTIMEDIA SERVICES, LTD,                   CASE NO.
                                   11
                                                                                        COMPLAINT FOR:
                                   12
                                                             Plaintiff,
                                                                                         1) BREACH OF CONTRACT;
DRACUP & PATTERSON, INC.
270 N. El Camino Real, Suite 510




                                   13                                                    2) FRAUD;
                                        v.                                               3) VIOLATION OF RACKETEER
      Encinitas, CA 92024
      Tel: (949) 309-1535




                                   14                                                       INFLUENCED AND CORRUPT
                                                                                            ORGANIZATIONS ACT (RICO);
                                   15   RETHINK FINANCIAL, INC., a Delaware              4) CONSTRUCTIVE FRAUD;
                                        Corporation, COORAEZ KESHVANI, an                5) CONVERSION;
                                   16                                                    6) NEGLIGENCE.
                                        individual, SEAN CAFFEY, an individual,
                                   17   RUDY ROMA, an individual, and DOES 1-20, PLAINTIFF’S REQUEST FOR TRIAL BY
                                                                                 JURY
                                   18                     Defendants.
                                   19
                                   20         Plaintiff complains and alleges:

                                   21         1.     Plaintiff P&T MULTIMEDIA SERVICES, LTD (P&T) is and at all time

                                   22   alleged in this action was a corporation with its principal place of business located in

                                   23   the City of Famagusta, Country of Cyprus.

                                   24         2.     Defendant RETHINK FINANCIAL, INC. (ReThink), is and at all time

                                   25   alleged in this action was a Delaware Corporation doing business in the state of

                                   26   California. ReThink’s registration with the Financial Crimes Enforcement Network of

                                   27   the Department of the Treasury reflects that Defendant does business in all fifty states,

                                   28   including in the state of California. The Director of Rethink, Defendant COORAEZ
                                        KESHVANI, advertises ReThink as operating in Los Angeles, California.

                                                                                    1
                                                                                  COMPLAINT
                                    Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 2 of 24 Page ID #:2



                                   1           3.    Defendant COORAEZ KESHVANI (Keshvani) is and at all times alleged
                                   2    in this action was an individual doing business in the state of California as a Director
                                   3    and Manager of ReThink, in control of operating and directing the affairs of ReThink.
                                   4           4.    Defendant SEAN CAFFEY (Caffey) is and at all times alleged in this
                                   5    action was an individual residing and doing business in the County of Los Angeles,
                                   6    State of California as a manager and operator directing the affairs of ReThink.
                                   7           5.    Defendant RUDY ROMA (Roma) is and at all times alleged in this action
                                   8    was an individual residing and doing business in the County of Los Angeles, State of
                                   9    California as a manager and operator directing the affairs of ReThink.
                                   10          6.    Plaintiff is ignorant of the true names of Defendants DOES 1 through 20,
                                   11   inclusive, and has therefore sued them by the foregoing names which are fictitious, and
                                   12   is informed and believes and thereon alleges that each of said defendants claims an
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                                   13   interest in the matters hereinafter described and which is the subject of this action, or
                                        is somehow obligated to Plaintiff hereunder, and Plaintiff asks that when their true
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                                   14
                                   15   names are discovered this Complaint may be amended by inserting their true names in
                                   16   lieu of said fictitious names, together with apt and proper words to charge them.
                                   17          7.    Plaintiff is informed and believes and thereon alleges that each of the
                                   18   named and Doe defendants are, and at all times herein mentioned were, the employees,
                                   19   agents, conspirators, servants, stakeholders, shareholders and/or partners of the other
                                   20   and, in committing the acts as alleged herein, were acting within the course and scope
                                   21   of such agency, conspiracy, service, employment and/or partnership. Each Defendant
                                   22   took affirmative steps to further the joint conspiracy alleged herein.
                                   23
                                   24                              JURISDICTION AND VENUE
                                   25          8.    This Court has subject matter jurisdiction over the present matter pursuant
                                   26   to 28 U.S.C. § 1332 as Plaintiff is a citizen of the country of Cyprus and the Defendants
                                   27   are citizens of the United States and the amount in controversy exceeds $75,000.00
                                   28   USD.



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                                                                                 COMPLAINT
                                    Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 3 of 24 Page ID #:3



                                   1          9.     This Court also has subject matter jurisdiction over the present matter
                                   2    pursuant to 18 U.S.C. § 1964 which provides civil remedies related to violations of the
                                   3    Racketeer Influenced and Corrupt Organizations Act (RICO) and allows the District
                                   4    Courts to prevent and restrain violations of the RICO Act.
                                   5          10.    This Court has personal jurisdiction over Defendants, because each
                                   6    Defendant has minimum contacts with the forum state, rendering exercise of
                                   7    jurisdiction by the District Courts of California over these Defendants proper.
                                   8                           FACTS COMMON TO ALL COUNTS
                                   9          11.    Defendants, ReThink and its employees or agents, the individual
                                   10   defendants, engaged in activities, or their activities affected, or conspired to engage in
                                   11   activities which affected interstate and/or foreign commerce. Defendants’ conduct or
                                   12   participation in the conduct of ReThink, directly or indirectly, and the affairs of
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                                   13   ReThink, directly or indirectly, constituted a pattern of criminal and fraudulent activity
                                        which constituted racketeering activity.
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                                   14
                                   15         12.    Defendants ReThink and its employees or agents, the individual
                                   16   defendants, are in the business of credit card payment processing for merchants such
                                   17   as Plaintiff P&T. Effectively, ReThink represented that like other processing entities,
                                   18   ReThink would obtain credit card transactions from merchants such as P&T and
                                   19   processes same for a fee. Once the payment is processed, ReThink returns funds to the
                                   20   merchant, in this case P&T, minus ReThink’s fee.
                                   21         13.    P&T is a business entity providing gaming services. Customers of P&T
                                   22   pay for said services using credit cards. In terms of credit card transactions, payment
                                   23   for gaming services is associated with greater risk than, for example, processing credit
                                   24   card transactions at a grocery store. As such, there are banks that are willing to take on
                                   25   credit card processing traffic for gaming merchants and those who are not.
                                   26         14.    Merchants such as P&T do not deal directly with the banks processing the
                                   27   credit card traffic but instead with business entities established for the purpose of taking
                                   28   the credit card traffic from the merchant, here P&T, sending it to the bank, here Evolve
                                        Bank (Evolve) and then JP Morgan Chase Bank (Chase), and when the transactions are

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                                                                                   COMPLAINT
                                    Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 4 of 24 Page ID #:4



                                   1    processed returning to the merchant the funds generated by the transactions, minus the
                                   2    processing fee, here charged by ReThink.
                                   3          15.    P&T was introduced to ReThink and Keshvani through a mutual banking
                                   4    / credit card processing acquaintance.
                                   5          16.    Once introduced, Keshvani sought to win over P&T’s business for his
                                   6    company, ReThink. P&T was processing between $40,000 USD to $65,000 USD a day
                                   7    in credit card transactions.
                                   8          17.    Keshvani represented to P&T that he had in-place a Payment
                                   9    Facilitator Agreement with Evolve whereby ReThink could onboard any merchant and
                                   10   provide unique Merchant IDs (MIDs) for payment processing online. The unique MID
                                   11   would permit Evolve to process P&T’s transactions separate from that of other
                                   12   merchants even if both merchants were ReThink’s customers.
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                                   13         18.    Defendants specifically represented that their sole intent was to process
                                        all of P&T’s submitted credit card transactions for the purpose of returning to P&T the
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                                   14
                                   15   funds generated by those transactions minus ReThink’s fees.
                                   16         19.    Based on the representations of Defendants ReThink, Keshvani, Roma
                                   17   and Caffey on or about November 22, 2022 P&T entered into a Merchant Agreement
                                   18   with Defendant ReThink a true and correct copy of which is attached hereto as Exhibit
                                   19   A and the salient terms of which were as follows:
                                   20                A.     Our Role. ReThink is a Money-Service-Business (MSB) utilizing a
                                   21         Distributed Ledger Technology (DLT) payment method in exchange for goods
                                   22         or services you sell to your shoppers or another type of customer (the
                                   23         "Customer" or "Cardholder"). … ReThink is acting as an authorized agent for
                                   24         the limited purpose of accepting and processing Credentials from Customers on
                                   25         your behalf for Transactions.
                                   26                B.     Your Authorization. You authorize us to act as your agent for the
                                   27         limited purposes of holding, receiving, and disbursing funds on your behalf in
                                   28         connection with the Payment Services. Based on your authorization, we may



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                                                                                 COMPLAINT
                                    Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 5 of 24 Page ID #:5



                                   1          generate an electronic funds transfer to settle the proceeds of each Transaction
                                   2          that you authorize, less any applicable Fees (“Fees”).
                                   3                C.       ReThink represents and warrants to the other party that:
                                   4                         27.1.1 ReThink is duly organized and validly existing under the
                                   5                         laws of the country, state, and/or province of its formation, and
                                   6                         has the full power and authority to conduct businesses as well as
                                   7                         to execute this Agreement and perform its obligations thereunder;
                                   8                         27.1.3 it will perform all services in a professional and
                                   9                         workmanlike manner and in accordance with prevailing industry
                                   10                        standards;
                                   11                        27.1.4 it will (and it will procure that its affiliates will) obtain,
                                   12                        hold, and maintain all filings, licenses, permits, and consents as
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                                   13                        may be required pursuant to any applicable laws in order for it to
                                                             conduct its business and perform its obligations under this
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                                   14
                                   15                        Agreement;
                                   16                        27.1.5 it will not engage in any unfair, deceptive, or abusive acts
                                   17                        or practices when providing the Payment Services; …
                                   18
                                   19         20.   Rethink’s payment processing for P&T commenced at the end of
                                   20   December 2022 and carried on through January 2023 with Evolve. Settlements were a
                                   21   bit messy (late, mistakes were made) but essentially completed with errors timely
                                   22   corrected when pointed out.
                                   23         21.   Keshvani began praising P&T’s traffic and asked for more. Keshvani told
                                   24   P&T that he has another MID and banking relationship with Chase. Keshvani claimed
                                   25   that his set up with Chase was the same as with Evolve and that P&T could grow traffic
                                   26   on both platforms.
                                   27         22.   Around the end of January, 2023 Defendants told P&T that P&T’s funds
                                   28   at Evolve had been blocked because another merchant, not P&T, had received VISA



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                                                                                   COMPLAINT
                                    Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 6 of 24 Page ID #:6



                                   1    fines for alleged violations by a merchant named “Empire”. At this time, roughly
                                   2    200,000 EUR1 remained at Evolve, along with the Rolling Reserve of 57,428.12 EUR2.
                                   3             23.    Keshvani instructed P&T to move all of its transaction traffic to Chase
                                   4    which P&T did. In the meantime, P&T had transactions pending at Evolve. Keshvani
                                   5    told P&T not to worry about those transactions which would shortly clear but not to
                                   6    send any further transactions to Evolve.
                                   7             24.    P&T continued to process credit card transactions with Chase for the next
                                   8    few weeks at which time Keshvani told P&T that Rethink cannot settle the funds from
                                   9    Evolve as the funds were frozen for 6 months.
                                   10            25.    When this issue arose P&T noticed that the MID on the Chase platform
                                   11   was no longer named P&T but Rethink. A principal of P&T tested the processing
                                   12   solution on the Chase platform with his own credit card to determine the flow of funds.
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                                   13   P&T’s principal used a personal credit card to pay P&T on the Chase platform.
                                        Through this process P&T learned that the MID on the Chase platform was not P&T
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                                   14
                                   15   or even ReThink, but a entity called Arccus Nova. Based on its web page, Arccus
                                   16   Nova3 was a photography website tied to Keshvani and his mother, Rosemeena
                                   17   Keshvani.
                                   18            26.    For the sake of clarity, P&T alleges that unbeknownst to P&T, Defendants
                                   19   had changed the MID on the Chase processing platform from P&T as the merchant to
                                   20   Arccus Nova, an entirely different merchant owned and/or operated by Defendants.
                                   21   Arccus Nova was receiving the funds P&T was processing through ReThink’s Chase
                                   22   platform. Chase was sending the processed transaction funds to Arcuus Nova, not P&T.
                                   23   The website for Arcuus Nova has since disappeared.
                                   24            27.    P&T started asking questions but Keshvani told P&T that the transition
                                   25   from Evolve to Chase had been burdensome; that yes, there were hiccups, but there
                                   26   was nothing to worry about as Keshvani and his staff Caffey and Roma had all matters
                                   27   1
                                            Based on the exchange rate on 6/12/2024, $216,170.60 USD.
                                   28   2
                                            Based on the exchange rate on 6/12/2024, $62,071.36 USD.
                                        3
                                            https://www.arccusnova.com; arccusnova@gmail.com

                                                                                        6
                                                                                     COMPLAINT
                                    Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 7 of 24 Page ID #:7



                                   1    in hand. P&T was heavily invested and allowed Defendants until the next settlement
                                   2    date, which was once a week, to straighten this affair. At this juncture P&T continued
                                   3    to process between $40,000 USD to $65,000 USD per day.
                                   4          28.   Then another problem presented. By way of background: as P&T was
                                   5    processing European traffic on USA MIDs at Chase, the Bank was required to
                                   6    implement 3DS for each payment, a mandatory user confirmation for each payment.
                                   7          29.   NMI is the payment gateway Rethink used to provide the payment
                                   8    processing service. NMI (https://www.nmi.com/) is one of the most utilized payment
                                   9    gateways in the United States. Technologically speaking, P&T gateway connected to
                                   10   NMI gateway (via Rethink) and then connected to Evolve and Chase in order to send
                                   11   each other data / information for the card processing. (P&T à Rethink via NMI à
                                   12   Evolve/Chase)
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                                   13         30.   Plaintiff was told by Defendants that there was a 40,000 EUR error within
                                        Chase and that the Plaintiff was settled funds out of pocket rather than receiving
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                                   14
                                   15   settlement funds from the card processing. Defendants attributed the error that
                                   16   allegedly required out-of-pocket settlement to a 3DS error on Chase’s side. Plaintiff
                                   17   instructed Defendants in no uncertain terms not to ‘rerun’ the transactions from past
                                   18   users, which is a function within the NMI gateway. A rerun would mean past
                                   19   transactions which were authorized by 3DS can once again debit the cardholder.
                                   20   Plaintiff clearly explained to Defendants that reruns would result in chargebacks from
                                   21   cardholders, and Plaintiff’s MID would be jeopardized. Plaintiff even offered to cover
                                   22   the difference so as not to provoke the users and bring scrutiny from customers or
                                   23   Chase.
                                   24         31.   From the cardholder’s perspective, the payment is authorized, money is
                                   25   taken out of the consumer’s account. Then, without explanation, the money is returned
                                   26   to the cardholder, and then a week later the money is taken out again. Naturally the
                                   27   consumer will suspect fraud or at least suspect that an unauthorized user is accessing
                                   28   their funds. The consumer then contacts the bank and the bank starts performing



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                                                                               COMPLAINT
                                    Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 8 of 24 Page ID #:8



                                   1    chargebacks. A typical chargeback ratio on a MID is 3% of total volume. If it is more
                                   2    then the Bank will investigate the MID and block funds.
                                   3             32.    Here, depositors in the sum of 40,000 EUR were inputting their cards for
                                   4    payment to P&T via NMI/Rethink via the Chase MID, the transactions were
                                   5    authorized, the user was subject to 3DS and confirmed the transaction, and funds were
                                   6    written off the users card. However, due to a technical error the funds were credited
                                   7    back in a few days. Contrary to Plaintiff’s instructions Keshvani did the rerun in a week
                                   8    and basically debited the amounts again. The cardholders deemed the transactions
                                   9    fraudulent and started to chargeback which in turn brought scrutiny from Chase.
                                   10            33.    Plaintiff alleges that Defendants’ only incentive to rerun the transactions,
                                   11   despite specific instruction from Plaintiff not to do so and Plaintiff’s offer to cover the
                                   12   difference was as follow: Defendants intended to embezzle as much of Plaintiff’s funds
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                                   13   as possible before Plaintiff realized what was happening. Rerunning the transactions
                                        would initially return the funds outstanding. Since Defendants never intended a long
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                                   14
                                   15   term relationship with Plaintiff and entered the agreement intending to steal as much
                                   16   from Plaintiff as possible before Plaintiff realized that the relationship was seeped in
                                   17   fraud, there was no downside to Defendants in rerunning the transactions.
                                   18            34.    The chargebacks that followed were ONLY due to the reruns performed
                                   19   by Keshvani to further the embezzlement of Plaintiff’s funds.
                                   20            35.    By this point P&T did not know how much money had been diverted to
                                   21   Arccus Nova and Rosemeena Keshvani and how much was being held by Chase.
                                   22            36.    After both Chase and Evolve had allegedly frozen P&T’s assets4,
                                   23   Keshvani became more and more difficult to get a hold of. The sums frozen and
                                   24   blocked by Evolve for 6 months were in the approximate amount of $200,000 EURO
                                   25   and Chase in the approximate amount of $583,313.08 EURO.5
                                   26
                                   27
                                        4
                                         Defendants’ representations that the funds were frozen by Evolve and Chase is confirmed only by
                                   28   Defendants and thus may not be true. There may never have been a freeze by the banks.
                                        5
                                            Based on the exchange rate on 6/12/2024, $630,476.47 USD.

                                                                                        8
                                                                                     COMPLAINT
                                    Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 9 of 24 Page ID #:9



                                   1              37.   P&T was assured by Keshvani and ReThink’s other agents that P&T’s
                                   2    money would be returned. Defendants asked P&T to be patient and assured P&T that
                                   3    the money would soon be returned.
                                   4              38.   In April 2023 Keshvani was still telling P&T that “[t]he solution to the
                                   5    blocked funds is to wait the 6 months the bank has required to release funds. As
                                   6    mentioned before there is no way around this.”
                                   7              39.   After ignoring dozens of calls, texts and emails from P&T Keshvani sent
                                   8    an email on August 8, 2023 stating “Chase has set the process for the final review to
                                   9    release funds. They will have final decisions this Friday. No more updates on Evolve
                                   10   still.”
                                   11             40.   In September 2023 P&T retained counsel in Cyprus to resolve the matter
                                   12   with Defendants. Defendants’ Compliance and Legal Department responded by email
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                                   13   on 9-22-2023 stating “We are reviewing your information below and we will respond
                                        within two business days (Tuesday). … Our response Tuesday will be a clear action
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                                   14
                                   15   plan on what is needed (if anything) to reconcile the outstanding amounts, complete
                                   16   payments, and a schedule.” Thereafter ReThink’s Compliance and Legal Department
                                   17   made various demands for notarized documents, which were complied with by P&T.
                                   18   But each time P&T complied with a notarization or certification request ReThink
                                   19   would put up another barrier to returning the funds. Eventually ReThink’s demands
                                   20   were impossible to comply with because, for example, the notarizations sought did not
                                   21   exist in Europe or were limited to the United States. In these communications ReThink
                                   22   never took the position that P&T’s funds were being held by either Evolve or Chase.
                                   23   Indeed there was tacit recognition that ReThink had P&T’s funds but would only
                                   24   release those funds if ReThink performed certain tasks. The tasks were intentionally
                                   25   impossible for P&T to comply with. Efforts to fashion compliance with ReThink’s
                                   26   demands, all of which exceeded the scope of the Agreement, were to no avail. In the
                                   27   end, Defendants were not even willing to provide a reconciliation.
                                   28             41.   To date, P&T has not been reimbursed the funds for credit card transaction
                                        processed by Defendants through either Evolve or Chase.

                                                                                     9
                                                                                   COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 10 of 24 Page ID #:10



                                   1             42.     Defendants have completely stopped communications with P&T.
                                   2             43.    At various junctures, Defendants, through Keshvani have admitted that
                                   3    Defendants owe P&T the money.
                                   4             44.    After having been induced to rely not only on the terms of the Agreement
                                   5    but also on the persuasion by Defendants regarding their honesty, integrity,
                                   6    trustworthiness, honor, credibility, acclaim, capability, power, facility, talent, skill,
                                   7    expertise P&T submitted to Defendants for processing hundreds of thousands of credit
                                   8    card transactions totaling approximately (current XE rate):
                                   9             Unsettled volume - 738'313.08 EUR6
                                   10            Rolling Reserve - 57'428.12 EUR7
                                   11            Total - 795,741.20 EUR8
                                   12            45.    Despite multiple demands from Plaintiff’s agents, Defendants failed to
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                                   13   return to P&T any portion of the transaction submittals identified above.
                                                 46.    Investigation since November 2023 has disclosed that there are at least
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                                   14
                                   15   three other businesses that have suffered losses from credit card processing transactions
                                   16   with ReThink in the same or similar manner as described herein.
                                   17
                                   18                                   FIRST CAUSE OF ACTION
                                   19                             BREACH OF WRITTEN CONTRACT
                                   20                      (Plaintiff against Defendants ReThink and DOES 1-10)
                                   21            47.    Plaintiff hereby incorporates herein by reference all paragraphs relevant
                                   22   to this cause of action and realleges same herein as though fully set forth.
                                   23            48.    An executed and written contract existed between P&T and Defendant
                                   24   ReThink, a true and correct copy of which is attached hereto as Exhibit A.
                                   25            49.    P&T performed all of the terms of the contract.
                                   26
                                   27   6
                                            Based on the exchange rate on 6/12/2024, $798,007.91 USD.
                                   28   7
                                            Based on the exchange rate on 6/12/2024, $62,071.35 USD.
                                        8
                                            Based on the exchange rate on 6/12/2024, $860,079.26 USD.

                                                                                        10
                                                                                     COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 11 of 24 Page ID #:11



                                   1          50.    Defendant ReThink breached the contract and each of the warranties
                                   2    recited by paragraph 12C by failing to return any portion of the funds generated
                                   3    by795,741.20 EUR worth of credit card transactions submitted by P&T to ReThink for
                                   4    the sole purpose of processing.
                                   5          51.    P&T is damaged in the amount of 795,741.20 EUR that P&T has lost via
                                   6    transactions submitted to Defendants for processing but which Defendants fraudulently
                                   7    and criminally misappropriated. The transactions are no longer available to P&T for
                                   8    submission to another credit card processing center for processing and payment of
                                   9    funds to P&T.
                                   10         52.    P&T has also been damaged to the extent it has had to retain attorney’s
                                   11   and incur other costs in the recovery of 795,741.20 EUR and is entitled to an award of
                                   12   attorney’s fees and costs per the terms of the Agreement.
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                                   13
                                                                   SECOND CAUSE OF ACTION
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                                   14
                                   15                                           FRAUD
                                   16        (Plaintiff against Defendants Rethink, Keshvani, Caffey, Roma Does 1-10)
                                   17         53.    Plaintiff hereby incorporates herein by reference all paragraphs relevant
                                   18   to this cause of action and realleges same herein as though fully set forth.
                                   19         54.    The elements of fraud, which give rise to the tort action for deceit, are (a)
                                   20   misrepresentation (false representation, concealment, or nondisclosure); (b)
                                   21   knowledge of falsity (or ‘scienter’); (c) intent to defraud, i.e., to induce reliance; (d)
                                   22   justifiable reliance; and (e) resulting damage.
                                   23         55.    Defendants Rethink, Keshvani, Caffey, Roma misrepresented their intent
                                   24   to process all of P&T’s submitted credit card transactions for the sole purpose of
                                   25   returning to P&T the funds generated by those transactions minus ReThink’s fees.
                                   26         56.    Defendants’ intent to defraud is evidenced by the fact that Defendants had
                                   27   a preexisting arrangement with Keshvani’s mother Rosemeena Keshvani and a
                                   28   business entity, Arccus Nova, created or existing for the purpose of diverting P&T’s
                                        transaction funds.

                                                                                    11
                                                                                 COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 12 of 24 Page ID #:12



                                   1          57.    Defendants’ intent to defraud is evidenced by the fact that Defendants
                                   2    moved the processing platform from Evolve to Chase without disclosing to P&T that
                                   3    the processing through Chase was not tagged to P&T under a MID specific to P&T.
                                   4    Defendants never told P&T that the MID of Arcuus Nova or Keshvani’s
                                   5    mother Rosemeena Keshvani, or anyone other than P&T, would ever be involved. To
                                   6    the contrary, Defendants’ representation was that the processing belonged to ReThink
                                   7    and the MID identified P&T.
                                   8          58.    Defendants’ misrepresentations and concealments were made in late 2022
                                   9    and 2023, extending through October, 2023 during which time Defendants continued
                                   10   to represent that ReThink intended to reconcile P&T’s account while concealing the
                                   11   fact that P&T’s funds had been diverted to Arcuus Nova and/or Keshvani’s
                                   12   mother Rosemeena Keshvani.
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                                   13         59.    What was misrepresented and/or concealed: Defendants pressured P&T
                                        to move its credit card traffic to Chase even before Evolve froze some of P&T’s
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                                   15   transactions. Defendants told P&T that its Processing Agreement with Chase was the
                                   16   same as with Evolve and that P&T’s funds were secure with a MID specific to P&T
                                   17   and a Processing Agreement between ReThink and Chase. Defendants’ representations
                                   18   were untrue and Defendants concealed from P&T that on the Chase platform P&T’s
                                   19   submission of credit card transactions were processed in favor of Defendants’ insiders,
                                   20   Arcuus Nova or Rosemeena Keshvani.
                                   21         60.    Nor have Defendants ever explained why Evolve would have frozen
                                   22   P&T’s funds based on a transgression by "Empire". Based on the lack of a cogent
                                   23   explanation as to Evolve’s freezing P&T’s funds, P&T alleges that Evolve either never
                                   24   froze P&T’s funds or that if it did, the processing stay was short and ReThink received
                                   25   the funds from Evolve and failed to tender same to Plaintiff based on false reasons
                                   26   created by ReThink to defraud Plaintiff.
                                   27         61.    At least as of the time that Defendants rerouted P&T’s transactions from
                                   28   Evolve to Chase they knew that P&T’s credit card transactions would be processed
                                        only for the benefit of Defendants. All of Defendants’ representations from that time

                                                                                   12
                                                                                COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 13 of 24 Page ID #:13



                                   1    on were knowingly false and included but were not limited to the following: (1) that
                                   2    rerouting to the Chase platform for the processing of P&T’s transactions was for P&T’s
                                   3    benefit; (2) that with the Chase platform the processing would be performed as it had
                                   4    been at Evolve bank, for the benefit of P&T; and (3) that ReThink was working on
                                   5    returning P&T’s funds from both Evolve and Chase.
                                   6          62.   P&T relied on Defendants’ representations which were given both
                                   7    verbally and in writing and based on the contract that had been signed with warranties
                                   8    provided. Moreover, some of the transactions had cleared and while never trouble free
                                   9    there was no reason not to rely on the verbal and written agreement that Defendants
                                   10   would not engage in any unfair, deceptive, or abusive acts or practices when
                                   11   providing the Payment Services; …
                                   12         63.   P&T could not have known that the purported “back up” bank, Chase,
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                                   13   would never route processed funds to P&T because Defendants had set up the flow of
                                        money to themselves rather than to P&T. Also, by the time that Defendants told P&T
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                                   14
                                   15   to use the Chase platform Defendants were processing between $40,000 USD to
                                   16   $65,000 USD per day. That meant that by the time P&T became suspicious about what
                                   17   was going on, it was likely that Defendants would have stolen about a week’s worth of
                                   18   P&T’s money and indeed approximately 795,741.20 EUR was lost to Defendants
                                   19   before P&T realized what was happening.
                                   20         64.   Despite initially engaging with P&T under the pretense that it was Chase
                                   21   that continued to error and failed to timely process transactions, Defendants never
                                   22   intended to return any substantial submission of transaction funds to P&T. Defendants
                                   23   engaged with P&T to delay P&T’s discovery of the fraud because all along Defendants
                                   24   knew that they had set up the Chase processing transactions with a MID for Arcuus
                                   25   Nova or Rosemeena Keshvani, not for P&T. It was only P&T that did not know this
                                   26   important fact until its principal ran his credit card through P&T. But even after
                                   27   learning this information it was not clear why Defendants had created the MID for
                                   28   Arcuus Nova or Rosemeena Keshvani or whether through banking error the MIDs had
                                        simply become confused. In a telephone conversation between Plaintiff’s agents, a

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                                                                               COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 14 of 24 Page ID #:14



                                   1    third party facilitator and Defendant Keshvani, Keshvani assured Plaintiff that the
                                   2    rerouting of the funds away from P&T was a bank error that would be looked into.
                                   3          65.    Despite continuing problems and issues Defendants continued to induce
                                   4    P&T’s reliance on their systems, telling P&T that the problems would shortly be
                                   5    resolved, that the issues were temporary, that Defendants were working with the banks
                                   6    and a myriad of other excuses for why the transactions were not fullyreturning P&T’s
                                   7    money.
                                   8          66.     As a result of the fraudulent conduct of Defendants, P&T has been
                                   9    harmed in a sum to be proven at trial.
                                   10         67.    Defendants’ acts were malicious, oppressive and fraudulent carried out
                                   11   with conscious disregard for the rights and safety of P&T. As such, punitive damage
                                   12   must be imposed against Defendants.
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                                   13
                                                                   THIRD CAUSE OF ACTION
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                                   14
                                   15                 VIOLATION OF RACKETEER INFLUENCED AND
                                   16            CORRUPT ORGANIZATIONS ACT (RICO) 18 U.S.C. § 1962 (c)
                                   17                              (Plaintiff against all Defendants)
                                   18         68.    Plaintiff hereby incorporates herein by reference all paragraphs relevant
                                   19   to this cause of action and realleges same herein as though fully set forth.
                                   20         69.    This claim is brought within four-years of the execution of the contract
                                   21   pursuant to which P&T’s loss occurred. RICO claims are subject to a four-year statute
                                   22   of limitations measured from the date that P&T discovered or should have discovered
                                   23   the injury. 18 U.S.C. § 1962. P&T discovered the injury in this case after 2023.
                                   24         70.    Defendants violated Penal Code § 532 which prohibits theft by false
                                   25   pretenses, defined as defrauding someone of money or property by way of false
                                   26   promises or representations.
                                   27         71.    Defendants violated Penal Code § 484 (Larceny) which prohibits theft of
                                   28   personal property entrusted by false pretenses or fraud.



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                                                                                 COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 15 of 24 Page ID #:15



                                   1           72.     Defendants violated Penal Code § 503 (Embezzlement) which is the
                                   2    commission of fraud in order to take property entrusted to Defendants.
                                   3           73.     Defendants are employed by or associated with an enterprise affecting
                                   4    interstate or foreign commerce, conducted or participated in the conduct of this
                                   5    enterprise's affairs through a pattern of racketeering activity (RICO).
                                   6           74.     A RICO enterprise “includes any individual, partnership, corporation,
                                   7    association, or other legal entity, and any union or group of individuals associated in
                                   8    fact although not a legal entity.” 18 U.S.C. § 1961(4). Defendants herein, ReThink,
                                   9    Caffey, Keshvani, Roma, Arcuus Nova, Rosemeena Keshvani and DOES 1-20
                                   10   constitute a RICO enterprise.
                                   11          75.     Defendants conducted or participated, directly or indirectly, in the
                                   12   conduct of the enterprise's affairs. 18 U.S.C. § 1962(c).9 The RICO Defendants
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                                   13   participated in the operation or management of the enterprise. Each of the Defendants
                                        named herein performed functions essential to the management and operation of
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                                   14
                                   15   ReThink, directing the enterprise’s affairs and the theft of P&T’s funds. For example,
                                   16   Defendants knew that Arcuus Nova and/or Rosemeena Keshvani were improperly
                                   17   receiving P&T’s money and were set up to receive funds they did not own and had no
                                   18   right to possess; Keshvani, Roma, Caffey knew that they never set up a MID for P&T
                                   19   at Chase or that they changed the MID from P&T to Arcuus Nova / Rosemeena
                                   20   Keshvani and that the money processed for P&T at Chase would be diverted to
                                   21   Defendants’ insiders, Arcuus Nova and Rosemeena Keshvani. The diversion of
                                   22   P&T’s funds occurred hundreds of times with each credit card transaction over the
                                   23   course of at least one week.
                                   24          76.     Predicate acts are “related” for RICO purposes when they have the same
                                   25   or similar purposes, results, participants, victims, or methods of commission, or
                                   26
                                        9
                                          A RICO complaint need not be specific as to each allegation of fraud when the nature of the RICO
                                   27   scheme is sufficiently pled so as to give notice to each of the defendants where, as here, the
                                   28   sufficiency challenge precedes discovery. See, e.g., Ifill v. West, No. 96 Civ. 6308, 1999 WL 690144,
                                        at *4 (S.D.N.Y. Aug.24, 1999).


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                                                                                      COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 16 of 24 Page ID #:16



                                   1    otherwise are interrelated by distinguishing characteristics and are not isolated events.
                                   2    The pattern element of a RICO claim is met here in that Defendants made
                                   3    misrepresentations prior to the theft as to the use of the Chase platform with a MID for
                                   4    P&T and in the running of hundreds if not thousands of credit card transactions through
                                   5    Defendants’ Chase platform which diverted P&T’s credit card sales to Defendants’
                                   6    insiders.
                                   7          77.    On information and belief P&T is not Defendants’ only victim and P&T
                                   8    is entitled to discovery related to other thefts committed by Defendants in the same or
                                   9    similar manner. P&T is informed and believes there are at least three other victims of
                                   10   Defendants’ theft through credit card processing manipulations.
                                   11         78.    P&T is informed and believes that ReThink is engaged in continued
                                   12   criminal activity as evidenced by its operating website and continued filings with the
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                                   13   State of Delaware, the most recent of which was a filing on 3/27/2024 identified as a
                                        Blanket Change of Address of Corporation. Moreover, P&T alleges on information
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                                   15   and belief that Defendants are engaged in an open-ended pattern of racketeering
                                   16   activity (i.e., past criminal conduct coupled with a threat of future criminal conduct)
                                   17   and that discovery will disclose additional victims of Defendants’ illegal activities.
                                   18   Here, the nature of the predicate acts themselves implies a threat of continued criminal
                                   19   activity. The threat of continuity continues because once the credit card transactions
                                   20   have been sent to Defendants, Defendants fully and completely control the funds. P&T
                                   21   is not the only victim of theft by false pretenses, larceny or embezzlement because of
                                   22   the nature of the business. Defendants operate primarily by committing theft by false
                                   23   pretenses, larceny or embezzlement, even if they also conduct some other legitimate
                                   24   business. Defendants use their MSB license as a basis for securing trust, confidence
                                   25   and assurance that merchants such as Plaintiff and their funds are safe by virtue of the
                                   26   fact that Defendants are licensed and thus regulated.
                                   27         79.    Each Defendant played some role in the fraudulent scheme: ReThink
                                   28   issued the contract and established the processing platforms with Evolve and Chase;
                                        Keshvani signed the contract; Keshvani, Caffey and/or Roma established the

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                                                                                 COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 17 of 24 Page ID #:17



                                   1    processing platforms with Evolve and Chase and made repeated assurances that the
                                   2    delay in Chase processing was “normal” and that it would be quickly resolved or that
                                   3    they would be working on resolving the issues. At the same time ReThink, Keshvani,
                                   4    Caffey, Roma, Arcuus Nova and Rosemeena Keshvani received and profited from
                                   5    P&T’s funds which were obtained through the deception of P&T.
                                   6          80.    P&T has been injured in its business or property by reason of a violation
                                   7    of 18 U.S.C. § 1962. 18 U.S.C. § 1964(c).
                                   8          81.    P&T is entitled by statute to treble damages, costs and attorney’s fees. 18
                                   9    USC §1964(c).
                                   10
                                   11                             FOURTH CAUSE OF ACTION
                                   12                                CONSTRUCTIVE FRAUD
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                                   13                     (Plaintiff against All Defendants and DOES 1 - 20)
                                              82.    Plaintiff hereby incorporates herein by reference all paragraphs relevant
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                                   14
                                   15   to this cause of action and realleges same herein as though fully set forth.
                                   16         83.    Constructive fraud exists in cases in which conduct, although not actually
                                   17   fraudulent, ought to be so treated,—that is, in which such conduct is a constructive or
                                   18   quasi fraud, having all the actual consequences and all the legal effects of actual fraud.
                                   19   In re Arbuckle's Est. (1950) 98 Cal. App. 2d 562, 568.
                                   20         84.    “[A]s a general principle constructive fraud comprises any act, omission
                                   21   or concealment involving a breach of legal or equitable duty, trust or confidence which
                                   22   results in damage to another even though the conduct is not otherwise fraudulent.”
                                   23   Assilzadeh v. California Fed. Bank (2000) 82 Cal. App. 4th 399, 415.
                                   24         85.    Defendants Rethink, Keshvani, Caffey, Roma misrepresented their intent
                                   25   to process all of P&T’s submitted credit card transactions for the sole purpose of
                                   26   returning to P&T the funds generated by those transactions minus ReThink’s fees.
                                   27         86.    Defendants’ intent to defraud is evidenced by the fact that Defendants had
                                   28   a preexisting arrangement with Keshvani’s mother Rosemeena Keshvani and a



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                                                                                 COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 18 of 24 Page ID #:18



                                   1    business entity, Arccus Nova, created or existing for the purpose of diverting P&T’s
                                   2    transaction funds.
                                   3          87.    Defendants’ intent to defraud is evidenced by the fact that Defendants
                                   4    moved the processing platform from Evolve to Chase without disclosing to P&T that
                                   5    the processing through Chase was not tagged to P&T under a MID specific to P&T.
                                   6    Defendants never told P&T that the MID of Arcuus Nova or Keshvani’s
                                   7    mother Rosemeena Keshvani, or anyone other than P&T, would ever be involved. To
                                   8    the contrary, Defendants’ representation was that the processing belonged to ReThink
                                   9    and the MID identified P&T.
                                   10         88.    Defendants’ misrepresentations and concealments were made in late 2022
                                   11   and 2023, extending through October, 2023 during which time Defendants continued
                                   12   to represent that ReThink intended to reconcile P&T’s account while concealing the
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                                   13   fact that P&T’s funds had been diverted to Arcuus Nova and/or Keshvani’s
                                        mother Rosemeena Keshvani.
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                                   15         89.    What was misrepresented and/or concealed: Defendants pressured P&T
                                   16   to move its credit card traffic to Chase even before Evolve froze some of P&T’s
                                   17   transactions. Defendants told P&T that its Processing Agreement with Chase was the
                                   18   same as with Evolve and that P&T’s funds were secure with a MID specific to P&T
                                   19   and a Processing Agreement between ReThink and Chase. Defendants’ representations
                                   20   were untrue and Defendants concealed from P&T that on the Chase platform P&T’s
                                   21   submission of credit card transactions were processed in favor of Defendants’ insiders,
                                   22   Arcuus Nova or Rosemeena Keshvani.
                                   23         90.    Nor have Defendants ever explained why Evolve would have frozen
                                   24   P&T’s funds based on a transgression by "Empire". Based on the lack of a cogent
                                   25   explanation as to Evolve’s freezing P&T’s funds, P&T alleges that Evolve either never
                                   26   froze P&T’s funds or that if it did, the processing stay was short and ReThink received
                                   27   the funds from Evolve and failed to tender same to Plaintiff based on false reasons
                                   28   created by ReThink to defraud Plaintiff.



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                                                                                COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 19 of 24 Page ID #:19



                                   1          91.   At least as of the time that Defendants rerouted P&T’s transactions from
                                   2    Evolve to Chase they knew that P&T’s credit card transactions would be processed
                                   3    only for the benefit of Defendants. All of Defendants’ representations from that time
                                   4    on were knowingly false and included but were not limited to the following: (1) that
                                   5    rerouting to the Chase platform for the processing of P&T’s transactions was for P&T’s
                                   6    benefit; (2) that with the Chase platform the processing would be performed as it had
                                   7    been at Evolve bank, for the benefit of P&T; and (3) that ReThink was working on
                                   8    returning P&T’s funds from both Evolve and Chase.
                                   9          92.   P&T relied on Defendants’ representations which were given both
                                   10   verbally and in writing and based on the contract that had been signed with warranties
                                   11   provided. Moreover, some of the transactions had cleared and while never trouble free
                                   12   there was no reason not to rely on the verbal and written agreement that Defendants
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                                   13   would not engage in any unfair, deceptive, or abusive acts or practices when
                                        providing the Payment Services; …
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                                   14
                                   15         93.   P&T could not have known that the purported “back up” bank, Chase,
                                   16   would never route processed funds to P&T because Defendants had set up the flow of
                                   17   money to themselves rather than to P&T. Also, by the time that Defendants told P&T
                                   18   to use the Chase platform Defendants were processing between $40,000 USD to
                                   19   $65,000 USD per day. That meant that by the time P&T became suspicious about what
                                   20   was going on, it was likely that Defendants would have stolen about a week’s worth of
                                   21   P&T’s money and indeed approximately 795,741.20 EUR was lost to Defendants
                                   22   before P&T realized what was happening.
                                   23         94.   Despite initially engaging with P&T under the pretense that it was Chase
                                   24   that continued to error and failed to timely process transactions, Defendants never
                                   25   intended to return any substantial submission of transaction funds to P&T. Defendants
                                   26   engaged with P&T to delay P&T’s discovery of the fraud because all along Defendants
                                   27   knew that they had set up the Chase processing transactions with a MID for Arcuus
                                   28   Nova or Rosemeena Keshvani, not for P&T. It was only P&T that did not know this
                                        important fact until its principal ran his credit card through P&T. But even after

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                                                                               COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 20 of 24 Page ID #:20



                                   1    learning this information it was not clear why Defendants had created the MID for
                                   2    Arcuus Nova or Rosemeena Keshvani or whether through banking error the MIDs had
                                   3    simply become confused. In a telephone conversation between Plaintiff’s agents, a
                                   4    third party facilitator and Defendant Keshvani, Keshvani assured Plaintiff that the
                                   5    rerouting of the funds away from P&T was a bank error that would be looked into.
                                   6          95.    Despite continuing problems and issues Defendants continued to induce
                                   7    P&T’s reliance on their systems, telling P&T that the problems would shortly be
                                   8    resolved, that the issues were temporary, that Defendants were working with the banks
                                   9    and a myriad of other excuses for why the transactions were not fullyreturning P&T’s
                                   10   money.
                                   11         96.     As a result of the fraudulent conduct of Defendants, P&T has been
                                   12   harmed in a sum to be proven at trial.
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                                   13         97.    Defendants’ acts were malicious, oppressive and fraudulent carried out
                                        with conscious disregard for the rights and safety of P&T. As such, punitive damage
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                                   15   must be imposed against Defendants.
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                                   17                               FIFTH CAUSE OF ACTION
                                   18                                      CONVERSION
                                   19                     (Plaintiff against All Defendants and DOES 1-20)
                                   20         98.    Plaintiff hereby incorporates herein by reference all paragraphs relevant
                                   21   to this cause of action and realleges same herein as though fully set forth.
                                   22         99.    The basic elements of the tort are (1) the plaintiff's ownership or right to
                                   23   possession of personal property; (2) the defendant's disposition of the property in a
                                   24   manner that is inconsistent with the plaintiff's property rights; and (3) resulting
                                   25   damages. Regent All. Ltd. v. Rabizadeh (2014) 231 Cal. App. 4th 1177, 1181.
                                   26         100. P&T owned the credit card transactions it submitted to Defendants for
                                   27   processing and transmitting the credit card transactions to ReThink did not transmute
                                   28   ownership. Transfer was for the limited purpose of processing the transactions.



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                                                                                 COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 21 of 24 Page ID #:21



                                   1           101. Defendants were required to process the credit card transactions such that
                                   2    the funds flowing from the transactions were transmitted to P&T after processing,
                                   3    minus Defendant ReThink’s fees.
                                   4           102. Inconsistent with P&T's property rights to the funds resulting from
                                   5    approximately 795,741.20 EUR of credit card transactions transmitted to the
                                   6    Defendants for processing, the funds stemming from said transactions were never
                                   7    returned to P&T. Instead, Defendants retained the funds and exercised dominion over
                                   8    the funds interfering with P&T’s right of possession and ownership.
                                   9           103. P&T was damaged as a result of the conversion of approximately
                                   10   795,741.20 EUR by Defendants.
                                   11          104. P&T will seek a constructive trust to protect said funds.
                                   12          105. The amount of damages will be subject to proof at the time of trial.
DRACUP & PATTERSON, INC.
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                                   13          106. Defendants’ acts were malicious, oppressive and fraudulent carried out
                                        with conscious disregard for the rights and safety of P&T. As such, punitive damage
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                                   14
                                   15   must be imposed against Defendants.
                                   16          107. Plaintiff will seek Attorney’s Fees as authorized by law.
                                   17
                                   18                               SIXTH CAUSE OF ACTION
                                   19                                      NEGLIGENCE
                                   20                      (Plaintiff against all Defendants and DOES 5-10)
                                   21          108. Plaintiff hereby incorporates herein by reference all paragraphs relevant
                                   22   to this cause of action and realleges same herein as though fully set forth.
                                   23          109. Defendants had a duty to process P&T’s transactions for the benefit of
                                   24   P&T.
                                   25          110. Defendants breached their duty to P&T by failing to timely process P&T’s
                                   26   transactions; by failing to process P&T’s transactions for the benefit of P&T; and by
                                   27   failing to remit to P&T all funds from P&T’s credit card transactions.
                                   28          111.   As a proximate cause of their breach of duties owed to P&T, P&T has
                                        been damaged in sums to be proved at trial but not less than 795,741.20 EUR.

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                                                                                 COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 22 of 24 Page ID #:22



                                    1                                      RELIEF SOUGHT
                                    2         1.       For general and special damages as proven at trial;
                                    3         2.       For injunctive relief and constructive trust and other equitable relief where
                                    4   appropriate;
                                    5         3.       For punitive damages as determined at trial where appropriate;
                                    6         4.       For Attorney’s Fees where authorized by contract or statute;
                                    7         5.       For Costs; and
                                    8         6.       For other such relief as the Court deems proper.
                                    9

                                   10   Dated: June 14, 2024                      DRACUP & PATTERSON, INC.
                                   11

                                   12                                             BY: ____________________________
                                                                                       Sohaila Sagheb, Esq.
DRACUP & PATTERSON, INC.
270 N. El Camino Real, Suite 510




                                   13
                                                                                       Attorneys for Plaintiff
      Encinitas, CA 92024
      Tel: (949) 309-1535




                                   14                                                  P&T Multimedia Services, LTD
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                                                                                   COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 23 of 24 Page ID #:23


                                                                  Request For Trial By Jury
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                                        To the Honorable Court:
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                                              Plaintiff P&T MULTIMEDIA SERVICES, LTD hereby requests trial of this
                                    4
                                        action by jury.
                                    5

                                    6

                                    7   Dated: June 14, 2024              DRACUP & PATTERSON, INC.

                                    8

                                    9                                     BY: ____________________________
                                                                               Sohaila Sagheb, Esq.
                                   10                                          Attorneys for Plaintiff
                                   11                                          P&T Multimedia Services, LTD
                                   12
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                                                                           COMPLAINT
                                   Case 2:24-cv-05038-FLA-AGR Document 1 Filed 06/17/24 Page 24 of 24 Page ID #:24



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DRACUP & PATTERSON, INC.
270 N. El Camino Real, Suite 510




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